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                       EXHIBIT A
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        KLEIN & ASSOCIATES
          TIME SUMMARY
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                                      TIME SUMMARY
                       WAYNE KLEIN, RECEIVER AND KLEIN & ASSOCIATES
                                    June 25, 2012 to December 31, 2012

Employee                 Position                      Hours        Rate    Amount       Hours Total
                                                       Billed                            Not    Hours
                                                                                         Billed
                                     June 25, 2012 to September 30, 2012
Dahl, Ian                Accountant                           34.5 60.00      2,070.00               34.5
Howe, Jill               Investigative Analyst               132.6 90.00     11,934.00              132.6
Shupe, James             Senior Accountant                   191.6 100.00    19,160.00    160.9     352.5
Williams, Keith          Analyst                              96.5 60.00      5,790.00      3.9     100.4
Etherington, Rendell     Certified Public Accountant          61.0 100.00     6,100.00     24.3      85.3
Klein, Wayne             Receiver                            339.6 225.00    76,410.00     45.2     384.8

Subtotal                                                   855.8            121,464.00    234.3   1090.1

                                    October 1, 2012 to December 31, 2012
Hock, Ali                Analyst                             203.4 60.00     12,204.00      7.1     210.5
Blackburn, Bart          Analyst                             193.4 60.00     11,604.00      4.5     197.9
Dahl, Ian                Accountant                          292.2 60.00     17,532.00              292.2
Howe, Jill               Investigative Analyst               426.0 90.00     38,340.00              426.0
Shupe, James             Senior Accountant                   246.9 100.00    24,690.00     15.9     262.8
Williams, Keith          Analyst                              49.2 60.00      2,952.00     24.0      73.2
Keyes, Liliana           Analyst                             146.1 60.00      8,766.00              146.1
Etherington, Rendell     Certified Public Accountant         134.4 100.00    13,440.00     21.2     155.6
Klein, Spencer           Analyst                              10.0 60.00        600.00               10.0
Klein, Wayne             Receiver                            308.1 225.00    69,322.50     40.5     348.6

Subtotal                                                 2,009.7            199,450.50    113.2   2,122.9

TOTAL TIME                                                2,865.5           320,914.50    347.5   3,213.0

EXPENSE REIMBURSEMENT REQUEST                                                38,841.94

TOTAL REQUEST                                                               359,756.44

Created 9/10/13 by Wklein
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 DORSEY & WHITNEY TIME
       SUMMARY
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Matter Number   Client/ Matter                Total            Write off    Total
492728-00001    National Note of Utah         $     9,302.50   $ (65.00)    $        9,237.50
492728-00002    Litigation                    $ 19,911.50      $ (282.00)   $       19,629.50
492728-00003    Asset Disposition             $     4,075.00   $     -      $        4,075.00
492728-00005    Asset Analysis and Recovery   $ 13,080.00      $ (22.50)    $       13,057.50
492728-00013    Cost                          $     1,064.73   $     -      $        1,064.73

                                              $   47,433.73    $ (369.50) $         47,064.23
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Initials      Name                    Title     Hours      Rate     Amount
       1689   Thomson, Michael        Partner          2.5      325 $ 812.50
       1759   Armington, Jeff         Associate        7.2      225 $ 1,620.00
       1936   Hunt, Mary (Peggy)      Partner         19.4      350 $ 6,790.00
       2651   Marsden, Milo (Steve)   Partner          0.2      400 $    80.00

                                                                    $ 9,302.50
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Initials      Name                    Title     Hours      Rate     Amount
       1675   Martinez, Christopher   Associate        7.9      265 $ 2,093.50
       1741   Darda, Erin             Associate        3.6      235 $ 846.00
       1759   Armington, Jeff         Associate       32.3      225 $ 7,267.50
       1810   Ellis, Courtney         Associate        2.9      200 $ 580.00
       1932   Cummings, Scott         Associate        0.4      300 $ 120.00
       1936   Hunt, Mary (Peggy)      Partner          9.2      350 $ 3,220.00
       1983   Santon, Katherine       Associate        1.1      285 $ 313.50
       2117   Garner, Jennie          Attorney         0.9      310 $ 279.00
       2398   Grisham, Michael        Attorney         2.7      415 $ 1,120.50
       2651   Marsden, Milo (Steve)   Partner          2.2      400 $ 880.00
       4061   DiFrancesco, Moana      Paralegal        1.3      175 $ 227.50
       4392   Smith, Ronald           Paralegal       15.2      195 $ 2,964.00

                                                                    $19,911.50
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Initials      Name                 Title     Hours      Rate     Amount
       1759   Armington, Jeff      Associate        1.7      225 $    382.50
       1936   Hunt, Mary (Peggy)   Partner         10.4      350 $ 3,640.00
       4061   DiFrancesco, Moana   Paralegal        0.3      175 $     52.50

                                                                   $4,075.00
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Initials     Name                  Title     Hours      Rate     Amount
      1675   Martinez, Christopher Associate          9      265 $         2,385.00
      1759   Armington, Jeff       Associate        6.3      225 $         1,417.50
      1936   Hunt, Mary (Peggy) Partner            12.3      350 $         4,305.00
      1990   Seim, Nathan          Associate       13.7      225 $         3,082.50
      2039   Allen, Stacey         Associate        3.6      225 $           810.00
      2651   Marsden, Milo (Steve) Partner          2.7      400 $         1,080.00
                                                                 $        13,080.00
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Matter Number   Client/ Matter                Total               Write off   Total
492728-00001    National Note of Utah         $       13,841.50   $     -     $       13,841.50
492728-00002    Litigation                    $       10,593.50   $     -     $       10,593.50
492728-00003    Asset Disposition             $       21,338.25   $ (47.00)   $       21,291.25
492728-00005    Asset Analysis and Recovery   $       12,019.75   $ (14.75)   $       12,005.00
492728-00013    Cost                          $          535.09   $     -     $          535.09

                                              $       58,328.09   $ (61.75) $         58,266.34
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Initials        Name                 Title     Hours      Rate     Amount
           1759 Armington, Jeff      Associate        8.5      235 $      1,997.50
           1936 Hunt, Mary (Peggy)   Partner         32.9      360 $    11,844.00

                                                                   $     13,841.50
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Initials      Name                    Title       Hours          Rate         Amount
       1675   Martinez, Christopher   Associate           19.2          265   $      5,088.00
       1759   Armington, Jeff         Associate            6.5          235   $      1,527.50
       1936   Hunt, Mary (Peggy)      Partner             10.5          360   $      3,780.00
     10407    Stauffer, Erin          Paralegal            1.1          180   $        198.00

                                                                              $     10,593.50
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Initials      Name                    Title       Hours          Rate         Amount
       1675   Martinez, Christopher   Associate            1.9          265   $           503.50
       1759   Armington, Jeff         Associate           36.2          235   $         8,507.00
       1885   Goldberg, Sarah         Associate           9.45          215   $         2,031.75
       1936   Hunt, Mary (Peggy)      Partner             28.6          360   $        10,296.00

                                                                              $        21,338.25
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Initials      Name                    Title     Hours      Rate     Amount
       1675   Martinez, Christopher   Associate        5.3      265 $ 1,404.50
       1689   Thomson, Michael        Associate        0.2      325 $    65.00
       1759   Armington, Jeff         Associate        9.1      235 $ 2,138.50
       1932   Cummings, Scott A.      Associate          1      315 $ 315.00
       1964   Smith, Layne T.         Associate       1.25      295 $ 368.75
       1990   Seim, Nathan            Associate       13.9      240 $ 3,336.00
       1936   Hunt, Mary (Peggy)      Partner         12.2      360 $ 4,392.00

                                                                   $ 12,019.75
